




Dismissed and Memorandum Opinion filed August 2, 2007








Dismissed
and Memorandum Opinion filed August 2, 2007.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-07-00326-CV

____________

&nbsp;

LORENZO M. RODRIGUEZ and ISABEL
RODRIGUEZ, Individually and as Distributees of the ESTATE OF
EVARISTO C. RODRIGUEZ, Deceased, Appellants

&nbsp;

V.

&nbsp;

LIFECARE CORPORATION d/b/a BENNER
HEALTHCARE CENTER, Appellee

&nbsp;



&nbsp;

On Appeal from the 270th District
Court

Harris County, Texas

Trial Court Cause No.
2006-52255

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp; &nbsp;O P I N I O N

This
appeal is from a judgment signed February 2, 2007.&nbsp; No clerk=s record has been filed.&nbsp; The clerk
responsible for preparing the record in this appeal informed the court
appellant did not make arrangements to pay for the record.&nbsp; 








On June
15, 2007, notification was transmitted to all parties of the Court's intent to
dismiss the appeal for want of prosecution unless, within fifteen days,
appellant paid or made arrangements to pay for the record and provided this
court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).

Appellants
filed no response.

Accordingly,
the appeal is ordered dismissed.

&nbsp;

PER
CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed August
2, 2007.

Panel consists of Justices Yates, Fowler, and Guzman.

&nbsp;





